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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-cr-35 (EGS)
                                              :
RONALD COLTON MCABEE,                         :
                                              :
                       Defendant.             :


                           MOTION FOR PROTECTIVE ORDER

       The United States of America hereby respectfully moves the Court for the entry of a

protective order governing the production of discovery by the parties in the above-captioned case.

The United States and counsel for the above-named Defendant have reached an agreement as to

this proposed protective order. Therefore, the United States is authorized to represent to the Court

that the Defendant does not oppose this motion or the entry of the attached protective order.



                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793


                                      By:               /s/
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